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                                   IN THE UNITED STATES DISTRICT COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          CASE NO. 2:08-CR-093-KJM

12                                 Plaintiff,           ORDER RE: RECIPIENTS OF RESTITUTION

13                            v.

14   CHARLES C. HEAD et al.,

15                                 Defendants.

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17          It is hereby ORDERED that restitution previously ordered to “H. W.” or “H. W. and A. W.” be

18 paid by the clerk of the court to “H. W. and A. W.” jointly, as set out in Attachment 1.

19          Additionally, the government requests that Attachment 1 be filed under seal, in order to protect

20 the names of the victims H.W. and A.W. The government’s request satisfies Local Rule 141 and good

21 cause exists to seal the attachment. See Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180 (9th

22 Cir. 2006) (party requesting sealing of records attached to non-dispositive motions bears the burden of

23 showing “good cause” exists for sealing) (citing Fed. R. Civ. P. 26(c); Foltz v. State Farm Mut. Auto.

24 Ins. Co., 331 F.3d 1122, 1131 (9th Cir. 2003)). Accordingly, the clerk is ordered to file Attachment 1

25 hereto under seal.

26          IT IS SO ORDERED.

27 DATED: July 5, 2019.
                                                              UNITED STATES DISTRICT JUDGE
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      ORDER RE: RESTITUTION                             1
